Case 4:15-cr-00151-O Document 368 Filed 09/14/15 Page 1 of 2 Page|D 1100

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

UNITED sTATEs oF AMERICA
v. NO. 4:15-CR-151-o
MATTHEW RUTLEDGE (20)

FACTUAL RESUME

INDICTMENT: Count One: Conspiracy to Possess with Intent to Distribute a
Controlled Substance (methamphetamine) (in violation of
21 U.S.C. § 846, and 21 U.S.C. §§ 841(a)(1) and (b)(l)(B))

PENALTY: $5,000,000 fine - not less than 5 years imprisonment and not more than 40
years imprisonment, or both such fine and imprisonment, plus a term of
supervised release of not less than 4 years.

MAXIMUM PENALTY:
$5,000,0()0 fine and not less than five (5) years nor more than forty (40)
years imprisonment, plus a term of supervised release of not less than 4
years. If the defendant violates any condition of supervised release, the
Court may revoke such term of supervised release and require the defendant
to Serve an additional period of confinement Further the Court must
impose a Mandatory Special Assessment of $100.00.

ELEMENTS C)F THE OFFENSE:
The essential elements which must be proved beyond a reasonable doubt in order to
establish the offenses charged in Count C)ne of the Indictrnent are as follows:

First: That two or more persons, directly or indirectly, reached an agreement to
distribute or possess with intent to distribute a controlled substance, as
charged in the indictment;

Second: That the defendant knew of the unlawful purpose of the agreement;

Third: That the defendant joined in the agreement willfully, that is, with the intent
to further its unlawful purpose; and

Factual Resume ~ Page 1

 

 

Case 4:15-cr-00151-O Document 368 Filed 09/14/15 Page 2 of 2 Page|D 1101

Fourth: ` That the overall scope of the conspiracy involved at least 50 grams of a
mixture or substance containing a detectable amount of methamphetamine,
a Schedule 11 controlled substance.

STIPULATED FACTS:

Since approximately 2014, Matthew Rutledge distributed.ounee quantities of
methamphetamine to others named in the indictment In this manner, Matthew Rutledge
conspired with others to possess with intent to distribute more than 50 grams of

methamphetamine

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MATTHEW RUTLEDGE 4 RONNLD COUCH
Defendant Counsel for Defendant

Factual Resume - Page 2

 

